 1 Marc S. Sternth                                                          Hon. Marc Barreca
   1825 NW 65 Street                                                        Chapter 7
 2 Seattle, WA 98117
   (206) 448-7996
 3 marc@hutzbah.com
 4
 5                                    UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 6
     In re:                        )                           NO. 10-23826
 7                                 )
   Michelle Catherine Merceri,     )
 8                                 )                           DEBTOR’S RESPONSE TO MOTION TO SELL
                                   )                           RESIDENCE
 9               Debtor.           )
   _______________________________ )
10
11                 Michelle Merceri, debtor herein, by and through counsel responds to the Motion to Sell
12 Residence as follows:
13                 1.          The original Order Authorizing Sale was entered on November 7, 2011. It is now
14 August, 2012. The sale was made subject to the approval of Bank of America. Almost 10
15 months later, there is still no agreement with Bank of America and there does not appear to be
16 any likelihood of an agreement in the foreseeable future.
17                 2.          The debtor’s position has changes substantially during the past year. At the time
18 of the motion she was the defendant in three adversary proceedings objecting to her discharge,
19 involved in two potential criminal investigations, and unable to find any employment. This has
20 changed.
21                 3.          There has been an indictment in one of the criminal investigations. In that
22 indictment she was named as a victim. It appears that the statute of limitations is running on the
23 other one, however, documents now discovered in the McDowell law suit provide substantial
24 proof of innocense.
25                 4.          Ms. Merceri has been successful defeating one adversary with a Summary
26 Judgment order in her favor. She has settled the 2nd one. The third one is currently set for
27 hearing on September 7, however, three (3) of the four (4) plaintiffs are now seeking dismissal
28

                                                                                                       MARC S. STERN
                                                                                                   ATTORNEY AT LAW
     DEBTOR’S RESPONSE TO                                                                        1825 NW 65TH STREET
     RENEWED MOTION TO SELL - 1                                                                   SEATTLE, WA 98117
     resp to sale motion.wpd                                                                            (206)448-7996




        Case 10-23826-CMA                   Doc 94    Filed 08/13/12     Ent. 08/13/12 17:54:03       Pg. 1 of 2
 1 without prejudice. At the last hearing the judge remarked that the plaintiff’s case seems to be
 2 imploding.
 3                 5.          In spite of the terrible slander, and defamatory reports made by various creditors
 4 and their attorneys, Ms. Merceri has worked to put her life back on track. She is currently
 5 working on transactions that, if successful, will allow her to seek a modification and keep her
 6 residence.
 7                 6.          There is a homestead exemption of approximately $11,000 in the property. This
 8 is the federal homestead pursuant to § 522 that has not been objected to. The sale does not
 9 satisfy payment of the debtor’s homestead.
10                 7.          The debtor is willing to agree to a resolution that would allow the trustee to keep
11 the proceeds for time spent on this and pay something to creditors.
12                 8.          At a minimum, the court should give the trustee a date by which time he has either
13 obtained all the permission necessary or to close the sale or, alternatively, this transaction must
14 be ruled dead.
15                 Dated this August 13, 2012
16                                                           /s/ Marc S. Stern
                                                             Marc S. Stern
17                                                           WSBA 8194
                                                             Attorney for Debtor
18
19
20
21
22
23
24
25
26
27
28

                                                                                                       MARC S. STERN
                                                                                                   ATTORNEY AT LAW
     DEBTOR’S RESPONSE TO                                                                        1825 NW 65TH STREET
     RENEWED MOTION TO SELL - 2                                                                   SEATTLE, WA 98117
     resp to sale motion.wpd                                                                            (206)448-7996




        Case 10-23826-CMA                   Doc 94     Filed 08/13/12     Ent. 08/13/12 17:54:03       Pg. 2 of 2
